USDC IN/ND case 1:08-cr-00014-TLS-RBC                 document 54       filed 06/09/11      page 1 of 2

                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF INDIANA
                                   FORT WAYNE DIVISION

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )       CAUSE NO.: 1:08-CR-14-TLS
                                              )
SAMUEL J. MILLER                              )

                 ORDER ACCEPTING FINDINGS AND RECOMMENDATION

       This matter is before the Court on the Findings and Recommendation of the United States

Magistrate Judge [ECF No. 49] filed on May 24, 2011. The Defendant has waived objection to the

Findings and Recommendation, and the Court, being duly advised, adopts the Findings and

Recommendation [ECF No. 49] in its entirety and accepts the recommended disposition. Subject to

this Court’s consideration of the Plea Agreement pursuant to Fed. R. Crim. P. 11(c)(3), the plea of

guilty to the offenses charged in Counts 1 and 2 of the Indictment is hereby accepted, and the

Defendant is adjudged guilty of such offenses.

       The Defendant shall appear for sentencing on Thursday, September 8, 2011, at 11:00 AM

before Judge Theresa L. Springmann. A telephone status conference is SET for Monday, August 29,

2011, at 1:00 PM to address any potential sentencing issues. The Court will initiate the call. Any

request for a sentence involving a departure under the United States Sentencing Guidelines, or for a

variance above or below a Guidelines sentence pursuant to 18 U.S.C. § 3553(a), with the exception of

matters raised pursuant to §5K1.1 of the Guidelines, shall be communicated to the probation officer

and opposing counsel, in writing, within fourteen (14) days following initial disclosure of the

presentence report. Any sentencing memorandum addressing these or any other issues, including

requests for a departure based on § 5K1.1, shall be filed with the Court no later than seven (7) days

prior to the sentencing hearing.

       SO ORDERED on June 9, 2011.

                                              s/ Theresa L. Springmann
                                              THERESA L. SPRINGMANN
                                              UNITED STATES DISTRICT COURT
USDC IN/ND case 1:08-cr-00014-TLS-RBC                document 54        filed 06/09/11     page 2 of 2


                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF INDIANA
                                     FORT WAYNE DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
        v.                                    )       CAUSE NO.: 1:08-CR-14-TLS
                                              )
SAMUEL J. MILLER                              )

                                     NOTICE OF SENTENCING
                                PRESENTENCE SCHEDULING NOTICE


        The Defendant named above in this matter is hereby scheduled for sentencing on

September 8, 2011, at 11:00 AM Fort Wayne time before Judge Theresa L. Springmann. The

attention of the parties is directed to the Presentence Scheduling Notice below.

        This case is further set for a telephone status conference regarding sentencing issues set

for August 29, 2011, at 1:00 PM Fort Wayne time before Judge Theresa L. Springmann. The

Court will initiate the call.

 Date of Referral to Probation Officer:                                     June 9, 2011
                                                                      (Date of Plea or Verdict)



 The Proposed Presentence Report Shall be Disclosed to
 Counsel no Later Than:                                                   August 4, 2011
                                                                    (35 Days Before Sentencing)

 Counsel’s Written Objections or Acknowledgment of No
 Objections to the Pre-Sentence Report Shall be Delivered
 to the Probation Officer and Opposing Counsel no Later
 Than 14 Days After Disclosure.

 The Presentence Report Shall be Submitted to the Court
 and Disclosed to Counsel no Later Than:                                 August 29, 2011
                                                                    (10 Days Before Sentencing)

 Judgment and Sentencing Date:                                           September 8, 2011
                                                                    (At Least 70 Days After Plea or
                                                                               Verdict)
